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 5                                 UNITED STATES DISTRICT COURT
 6                                         DISTRICT OF NEVADA
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 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                                 Plaintiff,  )                 Case No. 2:08-cr-00311-RLH-GWF
                                               )
10   vs.                                       )                 ORDER VACATING EVIDENTIARY
                                               )                 HEARING AND
11   HAGOB PALIKYAN,                           )                 FINDINGS & RECOMMENDATION
     ARMAN PALIKYAN,                           )
12   GARY AMBARTSUMYAN,                        )
                                               )                 Joint Motion to Dismiss All Counts
13                                 Defendants. )                 (#75) and Joinders (#80, #88)
     __________________________________________)
14
15          This matter is before the Court on Defendants Hagob Palikyan and Arman Palikyan’s Joint
16   Motion to Dismiss All Counts For Investigative Misconduct Resulting in a Due Process Violation
17   (#75), filed on May 6, 2009. Co-Defendant Gary Ambartsumyan’s Joinder (#80) in the Palikyan
18   Defendants’ Motion to Dismiss was filed on May 13, 2009. The Government’s Opposition to
19   Defendants’ Joint Motion to Dismiss All Counts For Investigative Misconduct and Motion to Vacate
20   Evidentiary Hearing (#83) was filed on May 15, 2009. Defendants Hagob Palikyan and Arman
21   Palikyan’s Joint Reply to Opposition to Motion to Dismiss (#86) was filed on May 21, 2009. Co-
22   Defendant Gary Ambartsumyan’s Joinder (#88) in the Palikyan Defendants’ Joint Reply was filed on
23   May 21, 2009.
24          Defendants allege that their Fifth Amendment rights to due process of law were violated
25   because the Government or the law enforcement agents who investigated their alleged crimes
26   purposefully delayed filing charges so that additional crimes, victims and losses would occur and
27   Defendants would be subject to increased sentences under the United States Sentencing Guidelines.
28   The Court entered a minute order (#79) on May 12, 2009 scheduling an evidentiary hearing in this
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 1   matter for August 3, 2009 at 9:30 A.M. Based on parties’ written briefs, however, the Court concludes
 2   that an evidentiary hearing in this matter is not required and that Defendants’ Joint Motion to Dismiss
 3   All Counts For Investigative Misconduct Resulting in a Due Process Violation (#75) should be denied.
 4                                       FACTUAL BACKGROUND
 5          Defendants Hagob Palikyan, Arman Palikyan and Gary Ambartsumyan were initially indicted in
 6   this case on November 18, 2008. The Indictment (#1) charged Defendants with Conspiracy in violation
 7   of 18 U.S.C. § 371; Trafficking in, Production of, and Use of Counterfeit Access Devices in violation
 8   of 18 U.S.C. § 1029(a)(1); Fraudulent Transactions With Access Devices Issued to Other Persons in
 9   violation of 18 U.S.C. § 1029(a)(5), (b)(1); Aggravated Identity Theft in violation of 18 U.S.C. §
10   1028A(a)(1); and Aiding and Abetting in violation of 18 U.S.C. § 2. A Superceding Indictment (#37)
11   was filed on January 6, 2009 which added Artur Ambartsumyan as a Defendant and alleged additional
12   overt acts by Artur Ambartsumyan on November 21, 2008 and by Artur Ambartsumyan and Arman
13   Palikyan on November 24, 2008. Superceding Indictment (#37), ¶¶ 14-15.
14          The indictments allege that the first overt criminal act committed by Defendant Arman Palikyan
15   occurred on March 3, 2008. On that date, Arman Palikyan allegedly used a Visa debit card account in
16   the name of another person and the corresponding PIN to fraudulently obtain approximately $1,000
17   from a Wells Fargo Bank on Cheyenne Avenue in Las Vegas, Nevada. Superceding Indictment (#37),
18   ¶7. The first alleged overt criminal act committed by Defendant Hagob Palikyan occurred on March 4,
19   2008 when he allegedly used a Visa debit card account in the name of another person and the
20   corresponding PIN to fraudulently obtain approximately $300 from a Wells Fargo Bank located at
21   Rainbow and Sahara Avenues in Las Vegas, Nevada. Superceding Indictment (#37), ¶8. The first
22   alleged overt criminal act committed by Defendant Gary Ambartsumyan occurred on August 16, 2008
23   when he allegedly used and attempted to use Bank of America Visa debit card accounts in the name of
24   other persons and the corresponding PIN numbers to fraudulently obtain money orders in the total
25   amount of $13,872 at the Wal-Mart Neighborhood Market on West Charleston Boulevard in Las Vegas,
26   Nevada. Superceding Indictment (#37), ¶12.
27          Defendants’ Joint Motion (#75) states that beginning in July 2008, investigators engaged in
28   surveillance of Defendants as they allegedly used access devices to obtain currency/cash advances or

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 1   attempted to utilize access devices. The Defendants state that Las Vegas Metropolitan Police
 2   Department reports reflect that from July 1, 2008, through December 8, 2008, the LVMPD Criminal
 3   Intelligence Section conducted extensive investigation involving various Wal-Mart Neighborhood
 4   Markets and Wal-Mart Stores in the Las Vegas area. According to Defendants, the details of the
 5   investigation began on July 1, 2008 when Defendant Arman Palikyan attempted to use a debit card at an
 6   ATM machine located at the Wal-Mart Store located at 6310 W. Charleston in Las Vegas. The
 7   transaction appeared to be declined and Arman Palikyan walked away. Defendants further state that on
 8   July 14, 2008, the Wal-Mart Market Asset Protection Manager provided the detective with receipts
 9   from the transaction at issue and video evidence from the ATM machine. The receipt allegedly
10   demonstrated that Arman Palikyan attempted to obtain $1,961.84. See Joint Motion (#75), p. 3.
11   Defendants’ motion states that the first recorded transaction relating to Defendant Hagob Palikyan
12   occurred on October 8, 2008 in the amount of $1,000.92. Id., p. 4. However, neither the original nor
13   superceding indictments refer to this alleged transaction.
14                                                DISCUSSION
15          In United States v. Marion, 404 U.S. 307, 323, 92 S.Ct. 455, 465 (1971), the Supreme Court
16   stated that the applicable statute of limitations is the primary guarantee against bringing overly stale
17   criminal charges. The Court stated that the Due Process Clause of the Fifth Amendment would also
18   require dismissal of the indictment if it were shown at trial that the pre-indictment delay caused
19   substantial prejudice to the defendant’s right to a fair trial and the delay was an intentional device to
20   gain a tactical advantage over the accused. Marion, 404 U.S. at 324, 92 S.Ct. at 465. The Court stated,
21   however, that “[a]ctual prejudice to the defense of a criminal case may result from the shortest and most
22   necessary delay; and no one suggests that every delay-caused detriment to a defendant should abort a
23   criminal prosecution.” Id.
24          The Ninth Circuit applies a two-part test to determine whether pre-indictment delay denied due
25   process: (1) The defendant must prove actual, non-speculative prejudice from the delay and (2) the
26   length of the delay, when balanced against the reason for the delay, must offend those “‘fundamental
27   conceptions of justice which lie at the base of our civil and political institutions.’” United States v.
28   Huntley, 976 F.2d 1287, 1290 (9th Cir. 1992). A court does not reach the second part of the test unless

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 1   the defendant proves actual prejudice. Id. The defendant has a heavy burden to demonstrate prejudice
 2   which is rarely met. The proof of prejudice must be definite and not speculative. United States v.
 3   Corona-Verbera, 509 F.3d 1105, 1112 (9th Cir. 2007); United States v. Martinez, 77 F.3d 332, 335 (9th
 4   Cir. 1996); United States v. Moran, 759 F.2d 777, 782 (9th Cir. 1985). It is also defendant’s burden to
 5   prove that dismissal is justified under the second prong of the test. United States v. Corona-Verbera,
 6   509 F.3d at 1112; United States v. Doe, 149 F.3d 945, 948 (9th Cir. 1998); United States v. Valentine,
 7   783 F.2d 1413, 1416-17 (9th Cir. 1986).
 8             In this case, the Defendants do not allege that their ability to defend against the indictment has
 9   actually been prejudiced by the loss of witnesses or other evidence. Rather, Defendants contend that
10   they have been prejudiced because the law enforcement agents delayed the filing of charges until the
11   Defendants and/or their co-conspirators committed additional crimes that will enhance the Defendants’
12   sentences if they are convicted. This type of alleged prejudice has not generally been found sufficient
13   to justify dismissal of the indictment, although it may provide a basis for a downward departure at time
14   of sentencing.
15             In United States v. Marion, 404 U.S. at 325 n. 18, 92 S.Ct. at 466 n. 18, the Court, quoting
16   Hoffa v. United States, 385 U.S.293, 310 (1966), noted:
17                    “There is no constitutional right to be arrested. The police are not
                      required to guess at their peril the precise moment at which they have
18                    probable cause to arrest a suspect, risking a violation of the Fourth
                      Amendment if they act too soon, and a violation of Sixth Amendment if
19                    they wait too long.1 Law enforcement officers are under no constitutional
                      duty to call a halt to a criminal investigation the moment they have the
20                    minimum evidence to establish probable cause, a quantum of evidence
                      which may fall far short of the amount necessary to support a criminal
21                    conviction.”
22             In United States v. Lovasco, 431 U.S. 783, 791-92, 97 S.Ct. 2044, 2049-50 (1977), the Court
23   also stated “that prosecutors are under no duty to file charges as soon as probable cause exists but
24   before they are satisfied they will be able to establish the suspect’s guilt beyond a reasonable doubt.”
25   The Court stated that such a rule would have deleterious effects upon both accused persons and the
26   prosecution. It would harm accused persons because of the increased likelihood of unwarranted charges
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               Marion held that the Sixth Amendment does not apply to pre-indictment or pre-arrest delay.

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 1   being filed. Conversely, it would make obtaining proof of guilt beyond a reasonable doubt impossible
 2   by causing potentially fruitful sources of information to be evaporated before they can be fully
 3   exploited. The Court further stated:
 4                  First, compelling a prosecutor to file public charges as soon as the
                    requisite proof has been developed against one participant on one charge
 5                  would cause numerous problems in those cases in which a criminal
                    transaction involves more than one person or more than one illegal act.
 6                  In some instances, an immediate arrest or indictment would impair the
                    prosecutor’s ability to continue his investigation, thereby preventing
 7                  society from bringing lawbreakers to justice. In other cases, the
                    prosecutor would be able to obtain additional indictments despite an early
 8                  prosecution, but the necessary result would be multiple trials involving a
                    single set of facts. Such trials place needless burdens on defendants, law
 9                  enforcement officials and courts.
10   Lovasco, 431 U.S. at 792-93, 97 S.Ct. at 2050.
11          In holding that the Due Process Clause did not impose such a requirement, the Court stated:
12                  [I]nvestigative delay is fundamentally unlike delay undertaken by the
                    Government solely “to gain tactical advantage over the accused,” United
13                  States v. Marion, 404 U.S. at 324, precisely because investigative delay is
                    not so one-sided. Rather than deviating from elementary standards of
14                  “fair play and decency,” a prosecutor abides by them if he refuses to seek
                    indictments until he is completely satisfied that he should prosecute and
15                  will be able promptly to establish guilt beyond a reasonable doubt.
                    Penalizing prosecutors who defer action for these reasons would
16                  subordinate the goal of “orderly expedition” to that of “mere speed.”
                    Smith v. United States, 360 U.S.1, 10 (1959). This the Due Process
17                  Clause does not require. We therefore hold that to prosecute a defendant
                    following investigative delay does not deprive him of due process, even if
18                  his defense might by somewhat prejudiced by the lapse of time.
19   Id., 431 U.S. at 795-96, 97 S.Ct. at 2051-52.
20          In United States v. Baker, 63 F.3d 1478, 1500 (9th Cir. 1995), the defendant contended that the
21   government unnecessarily prolonged its investigation of a contraband cigarette trafficking scheme for
22   the sole purpose of increasing the coconspirators’ sentencing exposure. The defendant argued that this
23   sentencing manipulation violated due process and barred the prosecution. In affirming the denial of the
24   motion to dismiss, the Ninth Circuit stated that “[t]he viability of sentencing manipulation as a valid
25   doctrine is uncertain. No court has held, however, that sentencing manipulation can serve as a complete
26   bar to prosecution.” The court noted that sentencing “entrapment” may be a proper basis for a
27   downward departure at sentencing. Id., citing United States v. Staufer, 38 F.3d 1103, 1106 (9th Cir.
28   1994). Sentencing entrapment occurs when a defendant who is disposed to commit a minor or lesser

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 1   offense is entrapped into committing a greater offense, subject to greater punishment. Id. The court
 2   then stated:
 3                  Baker does not contend he was subjected to this form of “sentencing
                    entrapment.” He asserts only that the government stretched out its
 4                  investigation after it had sufficient evidence to indict. This may be true,
                    but we decline to adopt a rule that, in effect, would find “sentencing
 5                  manipulation” whenever the government, even though it has enough
                    evidence to indict, opts instead to wait in favor of continuing its
 6                  investigation. See Jones, 18 F.3d at 1155.
 7                  Such a rule “would unnecessarily and unfairly restrict the discretion and
                    judgment of investigators and prosecutors.” Id. at 1145. “Police . . . must
 8                  be given leeway to probe the depth and extent of a criminal enterprise, to
                    determine whether coconspirators exist, and to trace . . . deeper into the
 9                  distribution hierarchy.” United States v. Calva, 979 F.2d 119, 123 (8th
                    Cir. 1992). See also United States v. Shepard, 4 F.3d 647, 649 (8th Cir.
10                  1993), cert. denied, 510 U.S. 1203, 127 L.Ed. 671, 114 S.Ct. 1322
                    (1994). Moreover, since the government bears the burden of proving its
11                  case beyond a reasonable doubt, it must be permitted to exercise its own
                    judgment in determining at what point in an investigation enough
12                  evidence has been obtained. We reject Baker’s sentencing manipulation
                    argument.
13
14   Baker, 63 F.3d at 1500.
15      In United States v. Lopeztegui, 230 F.3d 1000, 1003 (7th Cir. 2000), the Seventh Circuit construed
16   Baker as rejecting “sentencing manipulation” as grounds for finding a due process violation based on
17   pre-indictment delay. In an earlier case, United States v. Spears, 159 F.3d 1081, 1086 (7th Cir. 1998),
18   the Seventh Circuit stated that the government is not obligated to save the defendant from himself and
19   that any prejudice the defendant suffered because of pre-indictment delay was the result of his own
20   criminal conduct, and not from any government misconduct. Spears also involved circumstances which
21   arguably suggested that the prosecutor vindictively charged the defendant, several years after the
22   alleged crime occurred, because of his acquittal on an intervening and more serious state criminal
23   charge. Defendants have not pointed to any similar circumstances here.
24          In United States v. Martinez, 77 F.3d 332, 336 (9th Cir. 1996), the defendant was indicted
25   approximately six months after he committed the crime of possession of stolen property. The defendant
26   pled guilty and was sentenced to eight months in prison. Shortly before defendant completed his
27   sentence, he was indicted for conspiracy involving possession or sale of stolen property in other
28   incidents that were known to law enforcement officers at the time defendant was charged and pled

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 1   guilty to the first possession offence. The government explained that the delay in charging defendant
 2   with the other crimes was due to backlog in the prosecutors’ offices. In reversing the dismissal of the
 3   later indictment based on pre-indictment delay, the court held that defendant had not met his heavy
 4   burden to show actual, non-speculative prejudice. The court held that defendant’s claim of prejudice
 5   was speculative because the sentencing guidelines provided the district judge with leeway to grant
 6   downward departures in the sentence that might otherwise be imposed as a result of the delay that
 7   occurred.
 8          In this case, the first crimes allegedly committed by Defendants Arman and Hagob Palikyan
 9   occurred on March 3 and 4, 2008. The indictment was filed eight and a half months later on November
10   18, 2008. According to the sketchy information provided in Defendants’ motion to dismiss, law
11   enforcement officers began investigating defendants on July 1, 2008. Under Defendants’ scenario, the
12   period of alleged “pre-indictment delay” was approximately four and a half months as to Arman
13   Palikyan and was much shorter as to Defendants Hagob Palikyan and Gary Ambartsumyan. These
14   alleged periods of delay do not, on their face, suggest that the Government engaged in improper delay to
15   obtain a tactical advantage over the Defendants.
16          Even assuming that the Government had sufficient evidence to commence the prosecution
17   against Defendants Arman and Hagob Palikyan shortly after the initial crimes were committed on
18   March 3-4, 2008, Defendants have failed to allege any factual basis for concluding that the Government
19   delayed bringing charges in order to obtain an unfair tactical advantage. Count One of the Superceding
20   Indictment (#37) charges the Defendants with conspiracy involving the trafficking in, production and
21   distribution of counterfeit access devices, fraudulent transactions with access devices and aggravated
22   identity theft. As Lovasco and Baker indicate, law enforcement must be given leeway to probe the
23   depth and extent of a criminal enterprise, to determine whether coconspirators exist, and to trace deeper
24   into the alleged conspiracy’s hierarchy. A period of eight and a half months between the commission of
25   the first crime and the filing of the indictment charging several individuals with conspiracy involving
26   counterfeit access devices and identity theft does not, on its face, suggest improper pre-indictment delay
27   by the Government. That the alleged conspirators may commit additional crimes while the Government
28   pursues its investigation into the alleged conspiracy does not constitute government conduct that

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 1   offends those “‘fundamental conceptions of justice which lie at the base of our civil and political
 2   institutions.’” United States v. Huntley, 976 F.2d at 1290.
 3                                                CONCLUSION
 4          In United States v. Voigt, 89 F.3d 1050, 1067 (3rd Cir. 1996), the Third Circuit stated that a
 5   defendant's moving papers must demonstrate a colorable claim for relief in order to justify an
 6   evidentiary hearing based on outrageous government conduct in violation of the Fifth Amendment. In
 7   order to be colorable, a defendant's motion must consist of more than mere bald-faced allegations of
 8   misconduct. Defendant must allege specific facts supporting his claim of government misconduct. In
 9   United States v. Lazarevich, 147 F.3d 1061, 1065 (9th Cir. 1998), the Ninth Circuit stated that an
10   evidentiary hearing is not required where the evidence is in equipoise such that defendant cannot meet
11   his high burden to support dismissal of the indictment. Here, the Defendants have, at most, shown that
12   additional crimes occurred while the Government was investigating an alleged ongoing criminal
13   conspiracy. Such allegations do not justify an evidentiary hearing based on outrageous government
14   conduct in violation of the Due Process Clause. Accordingly,
15          IT IS HEREBY ORDERED that Co-Defendant Gary Ambartsumyan’s Joinder (#80) in the
16   Palikyan Defendants’ Motion to Dismiss and his Joinder (#88) in the Palikyan Defendants’ Joint Reply
17   are granted.
18          IT IS FURTHER ORDERED that the evidentiary hearing on Defendants’ Motion to Dismiss
19   (#75) scheduled for August 3, 2009 at 9:30 A.M. is vacated.
20                                            RECOMMENDATION
21          IT IS HEREBY RECOMMENDED that Defendants’ Joint Motion to Dismiss All Counts For
22   Investigative Misconduct Resulting in a Due Process Violation (#75) be denied.
23                                                    NOTICE
24          Pursuant to Local Rule IB 3-2, any objection to this Finding and Recommendation must be in
25   writing and filed with the Clerk of the Court within ten (10) days. The Supreme Court has held that the
26   courts of appeal may determine that an appeal has been waived due to the failure to file objections
27   within the specified time. Thomas v. Arn, 474 U.S. 140, 142 (1985). This circuit has also held that (1)
28   failure to file objections within the specified time and (2) failure to properly address and brief the

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 1   objectionable issues waives the right to appeal the District Court’s order and/or appeal factual issues
 2   from the order of the District Court. Martinez v. Ylst, 951 F.2d 1153, 1157 (9th Cir. 1991); Britt v. Simi
 3   Valley United Sch. Dist., 708 F.2d 452, 454 (9th Cir. 1983).
 4          DATED this 2nd day of June, 2009.
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                                                   ______________________________________
 6                                                 GEORGE FOLEY, JR.
                                                   United States Magistrate Judge
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